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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

Felicia Hankins, Personal Representative   )
of the Estate of Jordan Hankins,           )
                                           )
                               Plaintiff,  )
             v.                            )         No. 19 CV 0147
                                           )
Alpha Kappa Alpha Sorority, Inc.; Alpha    )
Kappa Alpha Sorority, Inc., Gamma Chi      )
Chapter; Alpha Kappa Alpha Sorority, Inc., )
Delta Chi Omega Chapter; Kathy A. Walker )
Steele; Alexandria Anderson; Jalon Brown; )
Alexandria Clemons; Cariana Chambers;      )
Raven Smith; Bianca Valdez; Ava Thompson )
Greenwell; and Ashanti Madlock-Henderson, )
                                           )
                               Defendants. )

        DEFENDANT ALPHA KAPPA ALPHA'S MOTION FOR EXTENSION
             OF TIME TO RESPOND TO THE COMPLAINT

      Defendant Alpha Kappa Alpha Sorority, Inc. moves, pursuant to Fed. R. Civ.

6(b), for an extension of time to respond to the Amended Complaint, and, in support

of this motion, states as follows:

      1.     On January 8, 2019, Plaintiff filed this action naming 12 Defendants,

including Alpha Kappa Alpha. (Dkt. 1.)

      2.     The 11-count, 253-paragraph complaint, is founded on diversity

jurisdiction and asserts Illinois state law claims for wrongful death and survival

(asserting sub-claims within those recognized causes of action for negligence,

negligent entrustment, negligent supervision, intentional and negligent infliction of

emotional distress).
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       3.     The claims arise out of the alleged hazing and suicide of Jordan

Hankins, a Northwestern University undergraduate student living in Evanston.

       4.     Plaintiff filed an amended complaint on January 24, 2019 that

contained 16 counts and 253 paragraphs. (Dkt. 11.)

       5.     Plaintiff served 7 of the 12 Defendants.

       6.     Plaintiff has not yet served the five remaining Defendants.

       7.     Alpha Kappa Alpha waived service of process.

       8.     Alpha Kappa Alpha's responsive pleading is due March 12, 2019.

       9.     Alpha Kappa Alpha requests an additional two weeks, to March 26,

2019 to file its response.

       10.    Both of the attorneys for Alpha Kappa Alpha will be on trial in the

Circuit Court of Cook County (Forest Preserve District of Cook County v. Royalty

Properties, LLC et al., No. 18 L 315) the week of February 25, 2019. Due to the

extensive nature of the proceedings (the matter is nearly ten years old and was

originally numbered as 09 CH 18291), counsel has needed to devote significant

effort to trial preparation.

       11.    In addition, lead counsel for Alpha Kappa Alpha was on trial in the

Northern District of Illinois (in the matter United States v. Tracie Dickey, No. 16 CR

475) the weeks of from February 4, 2019 until February 15, 2019.

       12.    This motion is made to provide sufficient time for counsel to prepare a

response to the complaint and not for the purpose of delay.




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      13.    Plaintiff will not be prejudiced by the granting of this motion because

Defendant is requesting a two week extension and Plaintiff has yet to serve a

number of the other Defendants.

      14.    Prior to filing this motion, counsel for Alpha Kappa Alpha spoke with

counsel for Plaintiff about this request and the parties were unable to reach an

agreement.

      WHEREFORE, Defendant Alpha Kappa Alpha Sorority, Inc. requests that

the Court grant it until March 26, 2019 to respond to the Amended Complaint and

for such other and further relief as deemed appropriate under the circumstances.

                                              Respectfully submitted,
                                              DEFENDANT ALPHA KAPPA
                                              ALPHA SORORITY, INC.
                                              By: /s/Christopher Carmichael___
                                                     One of its Attorneys

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                          CERTIFICATE OF SERVICE

      The undersigned certifies that on February 20, 2019 the foregoing Plaintiff’s

Defendant Alpha Kappa Alpha's Motion for Extension of Time to Respond

to the Complaint was electronically filed with the Clerk of the United States

District Court for the Northern District of Illinois by filing through the CM/ECF

system, which served a copy of the foregoing upon all counsel of record.

                                                   By:/s/Christopher Carmichael
